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                         UNITED STATES BANKRUPTCY COURT

                                           FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                 Chapter 13
     CAROL BEATSON
                                                 Case No. 19-11359-KHK

                           Debtor

                   OBJECTION TO CONFIRMATION OF PLAN,
               NOTICE OF OBJECTION TO CONFIRMATION OF PLAN
                                   AND
              NOTICE OF SCHEDULED HEARING ON THIS OBJECTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this objection to confirmation of
     your Chapter 13 Plan filed May 8, 2019. The cause for this objection is as follows:
            Violation of 11 U.S.C. §1325(a)(6) – Feasibility:
                   1. Step payments from $200.00/mo. to $450.00/mo. in month 19 and
                       then $450.00/mo. to $795.00/mo. in month 37 are highly unrealistic.
                   2. 100% Plan is underfunded as follows:

     PERFORMANCE             Amount of Plan Payment               200.00 x 18
                                                                  450.00 x 18
                                                                  795.00 x 24
                             Number of Months                              60
                                    Total Receipts                                 30,780.00
                             Disbursements Required
                                    Trustee                          3,162.20        10.00%
                                    Attorney                         2,500.00
                                    Taxes/Other Priority                 0.00
                                    Secured                         23,000.00
                                    Unsecured                        6,122.00
                                    Other
                                    Total Disbursements                            34,784.20


            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
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            If you do not wish the court to grant the relief sought in the objection, or if you
     want the court to consider your views on the objection, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before the date stated above. You must mail a copy to the
            persons listed below.

            Attend the hearing to be held on July 18, 2019 at 9:30 a.m., in Courtroom III
            on the 3rd floor, United States Bankruptcy Court, 200 South Washington
            Street, Alexandria, VA 22314. If no timely response has been filed opposing
            the relief requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste, 400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

             If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion or objection and may enter an order granting that
     relief.

     Date: _June 21, 2019______                            __/s/Thomas P. Gorman ________
                                                           Thomas P. Gorman
                                                           Chapter 13 Trustee
                                                           300 N. Washington Street, #400
                                                           Alexandria, VA 22314
                                                           (703) 836-2226
                                                           VSB 26421
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                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 21st day of June, 2019, served via ECF to authorized
     users or mailed a true copy of the foregoing Objection to Confirmation, Notice of
     Objection and Notice of Hearing to the following parties.

     Carol Beatson                                 Nathan Fisher, Esq.
     Chapter 13 Debtor                             Attorney for Debtor
     1663 Parkcrest Circle                         Fisher-Sandler, LLC.
     #101                                          3977 Chain Bridge Rd. #2
     Reston, VA 20190                              Fairfax, VA 22030


                                                          __/s/ Thomas P. Gorman______
                                                          Thomas P. Gorman
